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      1   LAW OFFICES OF JOHNNY L. GRIFFIN III
          JOHNNY L. GRIFFIN III (SBN 118694)
      2   SILKY SAHNAN (SBN 242850)
          1010 F STREET, SUITE 200
      3   SACRAMENTO, CA 95814
          Telephone: (916) 444-5557
      4   Facsimile: (916) 444-5558
      5   Attorney for Defendant
          Gurminder Singh
      6

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      8                           IN THE UNITED STATES DISTRICT COURT
      9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
     10

     11   UNITED STATES OF AMERICA,                       )   Case No.: 2:06-cr-0238-MCE
                                                          )
     12                  Plaintiff,                       )   ORDER TO RECONVEY PROPERTY TO
                                                          )   DEFENDANTS’
     13          vs.                                      )
                                                          )   DATE: January 22, 2007
     14   JASWANT KAUR, SUCHA SINGH, and                  )
          GURMINDER SINGH,                                )
     15                                                   )   Hon. Morrison C. England, Jr.
                         Defendants.                      )
     16                                                   )
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     18
                 Defendants, by and through their undersigned counsel, hereby move the court for an

     19   order authorizing the Clerk of the United States District Court for the Eastern District of

     20   California to reconvey the property posted to secure Defendants’ return to the United States,

     21   back to Sucha Singh and Jaswant Kaur. Property one (1) is the family home and Property

     22   (2) is a rental property owned by Sucha Singh and Jaswant Kaur.
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                  An order granting Defendants’ motion to modify the conditions of Pretrial release
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          was entered on October 26, 2006, which authorized Defendants to travel to India from
     25
          November 17, 2006 to November 22, 2006. To ensure Defendants’ presence back to the




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      1   United States, an Agreement to Forfeit Property listing the above two properties were filed
      2
          with the Court. Since the Defendants have now arrived back to the United States and
      3
          pursuant to their conditions, the property should be transferred back to Sucha Singh and
      4
          Jaswant Kaur.
      5
                                                               Respectfully submitted,
      6

      7
                  Dated: January 22, 2007                      /s/ Johnny L. Griffin, III
      8                                                        JOHNNY L. GRIFFIN, III
                                                               Attorney for Defendant
      9                                                        Gurminder Singh
     10           Dated: January 22, 2007                      /s/ Mark J. Reichel1__
                                                               MARK J. REICHEL
     11
                                                               Attorney for Defendant
     12                                                        Jaswant Kaur

     13           Dated: January 22, 2007                     /s/ John P. Brennan___
                                                              JOHN P. BRENNAN
     14                                                       Attorney for Defendant
                                                              Sucha Singh
     15

     16

     17
                  IT IS SO ORDERED.
     18
          DATED: January 25, 2007
     19
                                                           __________________________________
     20                                                    MORRISON C. ENGLAND, JR
                                                           UNITED STATES DISTRICT JUDGE
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          1
           Mr. Reichel and Mr. Brennan telephonically authorized attorney Johnny L. Griffin, III to sign this proposed order
          on their behalf.




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